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4
     Attorney for Earnest Paul Killinger
5

6
                      IN THE UNITED STATES DISTRICT COURT
7                   FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,    )
                                  ) CR S-07-248 WBS
10                    Plaintiff, )
                                  ) STIPULATION AND ORDER (PROPOSED)
11                v.              ) RESETTING SENTENCING (AMENDED)
                                  )
12
     ERNEST PAUL KILLINGER,       ) DATE: April 4, 2011
13
     LARRY SIXTO AMARO            ) TIME: 8:30 AM
     JASON STEWART-HANSON         ) CTRM: WBS
14   GERARDO LOPEZ MORA           )
                                  )
15                    DefendantS. )
                                  )
16
          The United States of America, through counsel of record,
17
     Assistant United States Attorney Jason Hitt, and the above named
18   defendants, by an through their respective counsel of record,
19   hereby submit this stipulation and proposed order rescheduling
     the sentencing date as to defendants ERNEST PAUL KILLINGER,
20
     LARRY SIXTO AMARO, JASON STEWART-HANSON and GERARDO LOPEZ MORA
21
     to April 4, 2011 at 8:30 a.m.
22

23                                    Respectfully submitted,
24

25   DATED: January 28, 2011          /s/ Michael Bigelow
                                      MICHAEL B. BIGELOW
                                      Attorney for Defendant Killinger


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1
     IT IS SO STIPULATED
2

3
     DATED: January 28, 2011          /s/ Michael Bigelow
4                                     MICHAEL B. BIGELOW
                                      Attorney for
5                                     Defendant Killinger

6
     DATED: January 28, 2011          /s/ Pete Kmeto
7                                     PETE KMETO
                                      Attorney for
8                                     Defendant Amaro
9
     DATED: January 28, 2011          /s/ Scott Tedmon
10                                    SCOTT TEDMON
                                      Attorney for
11                                    Defendant Hanson

12
     DATED: January 28, 2011          /s/ Hayes Gable
13
                                      HAYES GABLE
                                      Attorney for
                                      Defendant Mora
14

15

16   DATED: January 28, 2011          /s/ Jason Hitt
                                      JASON HITT
17                                    Assistant United States Attorney

18

19
                                      ORDER
20

21
          For good cause shown:
22        IT IS SO ORDERED.
23        DATED: _January 28, 2011
24

25




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